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 5                        UNITED STATES DISTRICT COURT
 6                                DISTRICT OF NEVADA
 7                                            ***
 8   UNITED STATES OF AMERICA,                  )
                                                )      2:06-CR-00291-PMP-LRL
 9                         Plaintiff,           )
                                                )
10                                              )           ORDER
     vs.                                        )
11                                              )
     Lonnie Lillard,                            )
12                                              )
                           Defendant.           )
13                                              )
14             Before the Court for consideration is Defendant/Petitioner Lonnie Lillard’s
15   Motion for Recusal Pursuant to 28 U.S.C. Sections 144 and 455 (Doc. #285) filed
16   February 24, 2012.
17             Undoubtedly, the adverse rulings cited by Defendant Lillard in his motion
18   are a source of disappointment and frustration. The situation is complicated further
19   by the fact that Defendant Lillard is a Defendant in two other cases before the
20   undersigned, 2:10-cv-00156-PMP and 2:08-cv-00679-PMP. Nevertheless, the
21   adverse rulings cited by Defendant Lillard as a basis for his Motion for Recusal do
22   not warrant the relief requested. Additionally, the Court hereby notifies Mr. Lillard
23   that the Honorable Lawrence R. Leavitt, United States District Judge, has retired
24   from the Court effective October 2011 and is no longer assigned to any of Defendant
25   Lillard’s cases.
26   ///
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 1            IT IS THEREFORE ORDERED that Defendant Lonnie Lillard’s Motion
 2   for Recusal Pursuant to 28 U.S.C. Sections 144 and 455 (Doc. #285) is DENIED.
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 4   DATED: February 27, 2012.
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                                            PHILIP M. PRO
 7                                          United States District Judge
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